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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 10-20268-CR-King/Garber



 UNITED STATES OF AMERICA,

 v.

 LUIS A. FELIPE TORRES,

      Defendant.
 ________________________/

                                      ORDER

       THIS CAUSE is before the Court by Order of Reference from U.S. District Judge

 James Lawrence King. Upon due consideration, it is hereby

       ORDERED that a change of plea hearing shall be held before the

 undersigned on Thursday, the 17th day of June, 2010, at 11:00 a.m. in the

 James Lawrence King Federal Justice Building, Courtroom 4, Tenth Floor, 99

 N.E. 4th Street, Miami, Florida 33132. Sentencing is scheduled for Wednesday,

 August 25, 2010, at 10:00 A.M. in Courtroom 11, Eleventh Floor, in the James

 Lawrence King Federal Justice Building before United States District Judge

 James Lawrence King.

       DONE AND ORDERED in Chambers at Miami, Florida this 16th day of June, 2010.


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                                              BARRY L. GARBER
                                              UNITED STATES MAGISTRATE JUDGE
